' Case Ahem Seo MAG Document 1 Filed 04/29/11 Page 1 of 10

Gomes

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United States Attorney Ey

MIRANDA KANE (CABN 150630) 4 ibe
Chief, Criminal Division App 29
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Attorneys for the United States

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

OAKLAND DIVISION 4 _ 7 1 = / 6 £ 5 9

UNITED STATES OF AMERICA, ) CRIMINAL NO.
)
Plaintiff, )
) NOTICE OF PROCEEDINGS ON
V. ) OUT-OF-DISTRICT CRIMINAL
) CHARGES PURSUANT TO RULES
DONALD MOORE, ) 5(c)(2) AND (3) OF THE FEDERAL
; RULES OF CRIMINAL PROCEDURE
Defendant. )
)

Please take notice pursuant to Rules 5(c)(2) and (3) of the Federal Rules of Criminal
Procedure that on April 28, 2011, the above-named defendant was arrested based upon an arrest
warrant (copy attached) issued upon an

@ Indictment

QO Information

O Criminal Complaint
O Other (describe)

pending in the Eastern District of California, Case Number 2:08-CR-00235-MCE.
In that case, the defendant is charged with a violation of Title 21, United States Code,
Sections 846 and 841(a)(1).

, Case EM OSES MAG Document 1 Filed 04/29/11 Page 2 of 10

Description of Violation:

COUNT TWO: 21 U.S.C. § 841(a)(1) - Conspiracy to Distribute and Possess with Intent to

Distribute MDMA; 5-methozy-N,Ndiisopropyltryptamine; and Ketamine.
COUNT SIX: 21 U.S.C. § 841(a)(1) - Distribution of MDMA; 5-methozy-

N,Ndiisopropyltryptamine; and Ketamine.

COUNT SEVEN: 21 U.S.C. § 841(a)(1) - Distribution of 5-methozy-N,Ndiisopropyltryptamine.
Penalty:

5 Years Term Supervised

COUNT TWO:

20 Years Imprisonment
$1,000,000 Fine

3 Years Term Supervised Release

COUNT SIX:

20 Years Imprisonment
$1,000,000 Fine, or Both

5 Years Term Supervised Release

COUNT SEVEN:

20 Years Imprisonment
$1,000,000 Fine, or Both

5 Years Term Supervised Release

Respectfully Submitted,

MELINDA HAAG
UNITED STATES ATTORNEY

Date: April 29, 2011. Sprfe Daspar
IFER N} GASPAR
4 ial As st nt United States Attorney

‘ Case my 088 9 MAG Document 1 Filed 04/29/11 Page 3 of 10

UNITED STATES DISTRICT COURT (di 1 | (
EASTERN DISTRICT OF CALIFORNIA ma

20 HAY 23° AM 935

USA, |
AMENDED
V. WARRANT FOR ARREST

DONALD ~- MOORE ,
Case Number: 2:08—CR-00235—M CIE

To: The United States Marshal
and any Authorized United States Officer

YOU ARE HEREBY COMMANDED to arrest Donald - Moore ,

and bring him or her forthwith to the nearest magistrate judge to answer a(n)

(2 Indictment Oinformation © Violation Petition © Other

charging him or her with (brief description of offense)

Conspiracy to Distribute and Possess with Intent to Distribute MDMA;
5-methoxy—N,Ndiisopropyltryptamine; and Ketamine

in violation "I itle 21 United States Code, Section(s) 841(a)(1)
i
L, Reader | / Deputy Clerk
Name i ing Officer Title of Issuing Officer
| [| 5/23/08 Sacramento
Sem Officer : Date and Location
Bail nh $ NO BAIL by Magistrate Judge Gregory G. Hollows

RETURN

This warrant was received and executed with the arrest of the above-named defendant

Date Reevived Name and Title of Arresting Otficer

Date of Arrest Signature of Arresting Officer

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28

Case AAEM OS MAG Document 1 Filed 04/29/11 Page 4 of 10

MCGREGOR W.

SCOTT

United States Attorney
HETKO P. COPPOLA
Assistant U.S. Attorney
501 I Street, Suite 10-100

Sacramento,
Telephone:

California 95814
(916) 554-2770

w)

FILED

MAY 2 2 2008

na TRICT COURT
ch Seer OF CALIFORNIA

IN THE UNITED STATES DISTRICT COURT

POR THE EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,

Vv.

Plaintif€,

SHATOYA AUSTIN,
RALPH DIXON, and
DONALD MOORE,

Defendants.

COUNT ONE:

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208 - R-- 235 ite be |
CR. NO.

VIOLATIONS: 21 U.S.C. §§ 846,
841(a) (1) - Conspiracy to
Distribute and Possess with Intent
to Distribute Cocaine Base;

21 U.S.C. §§ 846, 841(a) (1) -
Conspiracy to Distribute and
Possess with Intent to Distribute
MDMA; 5-methoxy-
N,Ndiisopropyltryptamine; and
Ketamine; 21 U.S.C. § 841(a)(1) -
Distribution of Cocaine Base

(3 counts); 21 U.S.C. § 841(a) (1)
- Distribution of MDMA; S-methoxy-
N,Ndiisopropyltryptamine; and
Ketamine; 21 U.S.C. § 841{(a)(1) -
Distribution of 5-Methoxy-
N,Ndiisopropyltryptamine

[21 U.S.C. §§ 846,

841(a) (1) - Conspiracy to Distribute

and Possess with Intent to Distribute Cocaine Base]

The Grand Jury charges:

THAT

SHATOYA AUSTIN, and
RALPH DIXON,

defendants herein, beginning at a time unknown to the Grand Jury,

but no later than on or about January 15, 2008, and continuing

| herby ceriify that the annexed
instrumant Is etrue and carract copy of
the original on/filb in my office,

1 ATTEST: VICTORIA C. MINOR
Clerk, U. $) Pistlct Court
Eastern let at California

By, I Z .
po 2. /Baputy Clark
Dated

n Ww F&F WY NH H

Case NT OS MAG Document 1 Filed 04/29/11 Page 5 of 10

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thereafter to on or about March 31, 2008, in the State and Eastern

District of California, and elsewhere did knowingly and

intentionally conspire with each other and with persons known and

unknown to the Grand Jury, to distribute and to possess with the
intent to distribute at least fifty grams of a mixture and substance
containing.a detectable amount of a form of cocaine base, known as
crack cocaine, a Schedule II controlled substance, in violation of

Title 21, United States Code, Sections 846 and 841(a) (1).

COUNT TWO: [21 U.S.C. § 841(a) (1) - Conspiracy to Distribute and
Possess with Intent to Distribute MDMA; 5-methoxy-
N,Ndiisopropyltryptamine; and Ketamine]

The Grand Jury further charges: THAT
SHATOYA AUSTIN, and
DONALD MOORE,

defendants herein, beginning at.a time unknown to the Grand Jury,

but no later than on or about February 19, 2008, and continuing

thereafter to on or about March 5, 2008, in the State and Eastern

District of California, and elsewhere did knowingly and

intentionally conspire with each other and with persons known and

unknown to the Grand Jury, to distribute and to possess with the

intent to distribute controlled substances, to wit, 3,4-

methylenedioxy-methamphetamine (MDMA), a Schedule I controlled

substance; 5-methoxy-N,Ndiisopropyltryptamine, a Schedule I

controlled substance; and ketamine, a- Schedule III controlled

substance, in violation of Title 21, United States Code, Sections

846 and 841 (a) (1).

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COUNT THREE: [21 U.S.C. § 841(a) (1) ~- Distribution of Cocaine Base]
The Grand Jury further charges: T HA T
SHATOYA AUSTIN, and
RALPH DIXON,
defendants herein, on or about January 15, 2008, in the State and
Eastern District of California, did knowingly and intentionally
distribute at least five grams of a mixture and substance containing
a detectable amount of a form of cocaine base, known as crack
cocaine, a Schedule II controlled substance, in violation of Title
21, United States Code, Section 841(a) (1).
COUNT FOUR: [21 U.S.C. § 841(a)(1) - Distribution of Cocaine Base]
The Grand Jury further charges: THAT
SHATOYA AUSTIN, and
RALPH DIXON,
defendants herein, on or about January 30, 2008, in the State and
Eastern District of California, did knowingly and intentionally
distribute at least five grams of a mixture and substance containing
a detectable amount of a form of cocaine base, known as crack
cocaine, a Schedule II controlled substance, in violation of Title
21, United States Code, Section 841(a) (1).
COUNT FIVE: [21 U.S.C. § 841(a)(1) - Distribution of Cocaine Base]
The Grand Jury further charges: THAT
RALPH DIXON,
defendant herein, on or about March 7, 2008, in the State and
Eastern District of California, did knowingly and intentionally
distribute at least fifty grams of a mixture and substance
containing a detectable amount of a form of cocaine base, known as

erack cocaine, a Schedule II controlled substance, in violation of

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Title 21, United States Code, Section 841 (a) (1).

COUNT SIX: [21 U.S.C. § 841(a) (1) - Distribution of MDMA;
5-methoxy-N,Ndiisopropyltryptamine; and Ketamine]

The Grand Jury further charges: THA T

SHATOYA AUSTIN, and
DONALD MOORE,

defendant herein, on or about February 29, 2008, in the State and
Eastern District of California, did knowingly and intentionally
distribute 3,4-methylenedioxy-methamphetamine (MDMA), a Schedule I
controlled substance; 5-methoxy-N,Ndiisopropyltryptamine, a Schedule
I controlled substance; and ketamine, a Schedule III controlled
substance, in violation of Title 21, United States Code, Section

841 (a) (1).

COUNT SEVEN: [21 U.S.C. § 841(a) (1) - Distribution of 5-methoxy-
' N, Ndiisopropyitryptamine]

The Grand Jury further charges: THAT
DONALD MOORE,

defendant herein, on or about March 5, 2008 in the State and Eastern
District of California, did knowingly and intentionally distribute
5-methoxy-N,Ndiisopropyltryptamine, a Schedule I controlled
substance, in violation of Title 21, United States Code, Section
841(a) (1).

A

TRUE BILL.

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FOREPERSON

ar, AAI L

MCGREGOR W. SCOTT
United States Attorney

Case oem MAG Document 1 Filed 04/29/11 Page 8 of 10

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UNITED STATES DISTRICT COURT

Eastern District of California

Criminal Division

THE UNITED STATES OF AMERICA

vs.

SHATOYA AUSTIN,
RALPH DIXON, and
DONALD MOORE

VIOLATION(S): 21 U.S.C. § 846, 841(a)(1) - Conspiracy to Distribute
and Possess with Intent to Distribute Cocaine Base;

21 U.S.C, § 846, 841(a)(1) - Conspiracy to Distribute and Possess with
Intent to Distribute MDMA; 5-methoxy-N, Ndiisopropyltryptamine; and
Ketamine; 21 U.S.C. § 841(aX1) - Distribution of Cocaine Base
(3 Counts); 21 U.S.C. § 841(a)(1) - Distribution of MDMA; 5-
methoxy-N,Ndiisopropyltryptamine; and Ketamine;

21 U.S.C. § 841(a)(1) - Distribution of 5-Methoxy-

N,Ndiisopropyltryptamine
A true bill,
------- LoL
Foreman.
Filedin opencourtthis, day
Of et AD, 20 0
oo Clerk

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GREGORY G. HOLLOWS

GPO 863 525
Case em MAG Document 1 Filed 04/29/11 Page 9 of 10

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PENALTY SLIP
SHATOYA AUSTIN: Counts 1, 2, 3, 4, and 6
RALPH DIXON: Counts 1, 3, 4, and 5
DONALD MOORE: Counts 2, 6, and 7
COUNT 1 .| 21 U.S.C. §§ 846, 841(a)(1) PENALTY | Mandatory Min.: 10 years
- Conspiracy to Distribute and Max: Life
Possess with Intent to Distribute NMT: $4 million dollars
Cocaine Base fine, or Both
At Least 5 Years TSR
COUNT 2 21 U.S.C. § 841(a)(1) PENALTY | Up To 20 Years
- Conspiracy to Distribute and NMT: $1 million dollars
Possess with Intent to Distribute fine, or Both
MDMA; 5-methoxy- 3 Years TSR
N,Ndiisopropyltryptamine; and
Ketamine
COUNTS 3 - 4 | 21 U.S.C. § 841(a)(1) PENALTY | Mandatory Min.: 5 Years
- Distribution of Cocaine Base NMT: 40 Years
NMT: $2 million dollars
4 Years TSR
COUNT 5 21 U.S.C. § 841(a)(1) PENALTY | Mandatory Min.: 10 years
- Distribution of Cocaine Base Max: Life
NMT: $4 million dollars
fine, or Both
At Least 5 Years TSR
COUNT 6 21 U.S.C. § 841(a)(1) PENALTY | Up To 20 Years
- Distribution of MDMA; NMT: $1 million dollars
5-methoxy-N; fine, or Both
Ndiisopropyltryptamine; and 3 Years TSR
Ketamine
COUNT 7 21 U.S.C. § 841(a)(1) PENALTY | Up To 20 Years
- Distribution of 5-methoxy- NMT: $1 million dollars
N,Ndiisopropyltryptamine fine, or Both
3 Years TSR
SPECIAL ASSESSMENT: $100.00 for each count

‘ Case 4:11-mj-70489-MAG Document1 Filed 04/29/11 Page 10 of 10

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An 267 Rev. 5,20b8) 08-Q--235 Ke k j

PER 18 U.S.C 3170

DEFENDANT INFORMATy,-1 RELATIVE TO A CRIMINAL ACTION -\ygal U.S. DISTRICT COURT

BY

[J SUPERSEDING INFORMATION

[x] compvainr [7] inFormation [__] INDICTMENT
[7] surerseoiie

Name of District Court, and/or Judge Magistrate Location (city)

EASTERN DISTRICT OF CALIFORNIA
SACRAMENTO, CALIFORNIA

” MAG 08-0167 GGH
OFFENSE CHARGED __.. Petty DEFENDANT — U.S. vs.
-Conspiracy to Distribute and Possess with Intent to
Distribute 3,4-methylenedloxy- methamphetamine Minor DONALD MOORE
(MDMA), 5-methoxy-N,Ndlisopropyltryptamine, _~
ketamine Misde- .
-Distribution of 3,4- methylenedioxy- meanor
methamphetamine (MDMA), 5-methoxy-N
Ndisopropyltryptamine, and Ketamine _X_ Felony Address { 9429 Westmore Court
-Possession with intent to Distribute Stockton, CA
Methamphetamine
Place of Offanse: San Joaquin Birth X = Male Allen
aitone? | aq Date 6/17/1977 —" Female (if
21 U.S.C. § 841(a)(1; — applicable)
21 U.S.C. § 841(a)(1); L
21.US.C_§ B41(ayt) (Optional unless a juvenile)
PROCEEDING DEFEND ANT
Name of Complainant Agency, or Person (& Title, If any) IS NOT IN CUSTODY
| DEA | 1) Has not been arrested, pending outcome this proceeding
if not detalned give date any prior summons

CJ this person is awalting trial in another Federal or State Court,

give name of court.

| 4

[J this persor/proceeding is transferred from another district

par (circle one) FRCrP 20, 21, or 40. Show District

| J

CJ this Is a reprosecution of charges

previously dismissed which were
dismissed on motion of:

CJ US. Att'y [J ‘Defense

SHOW
DOCKET NO.

L____

Cc] this prosecution relatas to a pending

case Involving this same defendant

[} prior proceeding or appearance(s) MAGISTRATE
before U.S, Magistrate regarding CASE NO,
this defendant were recorded under 08-0167 GGH

Name and Office of Person

Furnishing information on

THIS FORM SA Brittany Ziesman-Hicks
916-416-5610

U.S, Other U.S,
Atty x Agency

Name of Asst.-U.S, Atty

(if assigned) HEIKO P, COPPOLA

was served on above charges

»

2) Is a Fugitive
3) Is on Bail or Release from (show District)

| _|

iS IN CUSTODY
4) On this charge
5) On another conviction [J Fed'l LJ State
6) Awaiting trial on other charges

tf answer to (6) is "Yes", show name of institution

Has detainer
bean filed? Yes If
__ "Yes"
me 6 |
No date
DATE OF Mo. Day Year
ARREST >
Or... ifarresting Agency & Warrant were not Federal
DATE TRANSFERRED Mo. Day Year

TOU.S. CUSTODY >»

| This report amends AO 257 previously submitted

ADDITIONAL INFORMATION OR COMMENTS
BENCH WARRANT DETENTION/BAIL TO BE DETERMINED AT INITIAL APPEARANCE
